        Case 2:22-cv-01244-APG-BNW             Document 28       Filed 03/05/25      Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 INFOBIP, LTD.,                                         Case No.: 2:22-cv-01244-APG-BNW

 4          Plaintiff                                 Order for Stipulation to Dismiss or Status
                                                                       Report
 5 v.

 6 RINGCAPCHA, INC.,

 7          Defendant

 8         On September 6, 2024, the parties advised the court that they had settled this case and

 9 anticipated filing dismissal papers by January 30, 2025. No stipulation to dismiss has been filed.

10         I THEREFORE ORDER that by March 20, 2025, the parties shall file a stipulation to

11 dismiss or a status report regarding settlement.

12         DATED this 4th day of March, 2025.

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                                                 ANDREW P. GORDON
                                                 CHIEF UNITED STATES DISTRICT JUDGE
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